Case 3:17-cv-00072-NKM-JCH Document 574 Filed 10/18/19 Page 1 of 4 Pageid#: 7022




                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division

      ELIZABETH SINES,ET AL.                )
                                            )
                   Plaintiffs,              )
                                            )                     Civil Action No. 3:17-cv-00072-
      v.                                    )                     NKM
                                            )
      JASON KESSLER, ET AL.                 )
                 Defendants.                )
      _____________________________________ )


            DEFENDANT JEFF SCHOEP’S SUPPLEMENTAL RESPONSES TO
             PLAINTIFF’S FIRST INTERROGATORIES AND REQUEST FOR
                          PRODUCTION OF DOCUMENTS


                Defendants Jeff Schoep, the National Socialist Movement (“NSM”), and the

      Nationalist Front, by and through counsel, respectfully submit this Supplemental

      Response to Plaintiff’s First Interrogatories and Request for Production of Documents:

                                           DISCOVERY REQUESTS

      1. Identify all means of communication used by you to communicate concerning the
      Events, whether before, during, or after the Events, and for each means of
      communication, identify all names, aliases, e-mail addresses, phone numbers, and
      Social Media Handles you used in connection with such communications, including
      the 18-digit account identifier associated with any Discord account used by You.
      Means of communications include, but are not limited to, telephone calls, in-person
      meetings, and all means of electronic communication including, for example, Social
      Media, email, SMS messages, podcasts, and online video.


           ANSWER: Defendants wish to clarify their previously submitted interrogatory

      answer regarding the Bitchute Account. Although the BitChute account was the

      NSM’s account, Mr. Schoep was not personally responsible for it and never had

      access to the account. Mr. Schoep’s first set of interrogatories that his former attorney,



      ___________________________________________________________________________________        Page 1 of 4
      Supplemental Answer to Plaintiff’s First Interrogatories and Request for Production of Documents
      Sines v. Kessler, et. al.
Case 3:17-cv-00072-NKM-JCH Document 574 Filed 10/18/19 Page 2 of 4 Pageid#: 7023




      Mr. Kolenich, submitted to the court was exactly identical to the interrogatories that

      were submitted for NSM. The BitChute account should not have been included in Mr.

      Schoep’s interrogatory responses and this was done in error. In email correspondence,

      Mr. Schoep made it known that the only social media accounts he personally had

      were a Twitter account and a VK account. Mr. Schoep told his former attorney that

      NSM had a BitChute account, but it was NOT his personal account nor did he ever

      have the credentials or log in information for this account. Mr. Schoep’s first set of

      interrogatories should have only stated his personal Twitter account and his VK

      profile.

                 Instead of distinguishing the answers and submitting them accordingly, Mr.

      Kolenich submitted the exact same answers for both the NSM and Mr. Schoep. This

      was inaccurate. The NSM did have a BitChute account and Mr. Schoep was able to

      obtain the credentials for this account, which he gave to the third party vendor for

      imaging.

                 In Mr. Schoep’s email correspondence with Mr. Kolenich, he specifies the

      twitter account, his VK account and email that was used before and after Unite the

      Right. He specified that NSM had a bitchute account and that is all. This is where the

      confusion came in and why Mr. Schoep did not initially have any credentials for the

      NSM’s BitChute account.

                                                                   Respectfully Submitted,

                                                                   JEFF SCHOEP
                                                                   By Counsel

                                          By: /s/ W. Edward ReBrook, IV
                                              W. Edward ReBrook, IV (VSB 84719)
                                              The ReBrook Law Office

      ___________________________________________________________________________________        Page 2 of 4
      Supplemental Answer to Plaintiff’s First Interrogatories and Request for Production of Documents
      Sines v. Kessler, et. al.
Case 3:17-cv-00072-NKM-JCH Document 574 Filed 10/18/19 Page 3 of 4 Pageid#: 7024




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                                     CERTIFICATE OF SERVICE

           I hereby certify that on October 17, 2019, a true and correct copy of the foregoing
      Supplemental Answer to Plaintiff’s First Interrogatories and Request for Production
      of Documents has been filed with the Clerk of Court through the CM/ECF System,
      which will send a notice of electronic filing of this pleading to all counsel of record,
      including:



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      ___________________________________________________________________________________        Page 3 of 4
      Supplemental Answer to Plaintiff’s First Interrogatories and Request for Production of Documents
      Sines v. Kessler, et. al.
Case 3:17-cv-00072-NKM-JCH Document 574 Filed 10/18/19 Page 4 of 4 Pageid#: 7025




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      ___________________________________________________________________________________        Page 4 of 4
      Supplemental Answer to Plaintiff’s First Interrogatories and Request for Production of Documents
      Sines v. Kessler, et. al.
